Case 2:20-cv-00283-JRG Document 64 Filed 06/03/21 Page 1 of 8 PageID #: 1579




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

    JAPAN DISPLAY INC. and PANASONIC
    LIQUID CRYSTAL DISPLAY CO., LTD.,

                     Plaintiffs,                      CIVIL ACTION NO. 2:20-cv-00283-JRG
                                                      (Lead Case)
                         v.                           CIVIL ACTION NO. 2:20-cv-00284-JRG
                                                      CIVIL ACTION NO. 2:20-cv-00285-JRG
    TIANMA MICROELECTRONICS CO.                       (Consolidated)
    LTD.,                                             JURY TRIAL DEMANDED

                    Defendant.


          DEFENDANT’S MOTION TO COMPEL PLAINTIFFS TO PRODUCE
          RELEVANT INFORMATION IN PLAINTIFFS’ SOLE POSSESSION

        Pursuant to Rule 37 of the Federal Rules of Civil Procedure, Defendant Tianma

Microelectronics Co. Ltd. (“Tianma Microelectronics”) moves to compel Plaintiffs Japan

Display Inc. (“JDI”) and Panasonic Liquid Crystal Display Co., Ltd. (“Panasonic”) (collectively,

“Plaintiffs”) to: (i) produce information and documents relating to Plaintiffs’ products made,

offered for sale, or sold before the application dates of the asserted patents; and (ii) produce

technical and financial information and documents relating to Plaintiffs’ reasonable-royalty

damages contentions.

I.      FACTS

        Plaintiffs sued Tianma Microelectronics in August 2020 1, asserting infringement of

fifteen patents relating to liquid crystal displays. In the Complaints, Plaintiffs identified five



1
 The three originally filed actions were: Japan Display Inc. and Panasonic
Liquid Crystal Display Co., Ltd. v. Tianma Microelectronics Co. Ltd., Civil Action No. 2-20-cv-
00283, Japan Display Inc. v. Tianma Microelectronics Co. Ltd., Civil Action No 2-20-cv-00284,
Japan Display Inc. v. Tianma Microelectronics Co. Ltd., Civil Action No. 2-20-cv-00285, which
have been consolidated.
Case 2:20-cv-00283-JRG Document 64 Filed 06/03/21 Page 2 of 8 PageID #: 1580




infringing products 2. On January 6, 2021, Plaintiffs served their Disclosure of Asserted Claims

and Infringement Contentions (“Infringement Contentions”), accusing 2,400+ additional

products of infringing 135 claims from the fifteen patents. Plaintiffs’ Infringement Contentions

analyzed eight products in detail, alleged that they are “Representative,” and argued that

thousands more products infringe merely because they met a simple product category definition,

for example that they were “LTPS” products. On March 3, 2021, Defendant served its

Preliminary Invalidity Contentions (“Invalidity Contentions”), identifying, as examples, ten JDI

products, one Panasonic product, 16 Sony products, and 125 Toshiba 3 products that are believed

to be prior art because they were sold prior to the priority dates of certain asserted patents and

because, according to public sources, they satisfy the same broad category definitions provided

in Plaintiff’s Infringement Contentions, for example that they are “LTPS” products. The

identification of potential prior art products is likely incomplete however, because the full

spectrum of Plaintiffs’ products is not publicly available. That is, Plaintiffs have likely sold other

products within those broad categories which constitute relevant prior art to the asserted patents.

       On March 17, 2021, Defendant served on Plaintiffs a set of interrogatories and a letter

identifying categories of relevant documents for production (“RFPs”) (collectively, “Discovery

Requests”) which included requests for other potential prior art products (see, e.g., RFP Nos. 30

and 32), and further requested information on Plaintiffs’ damages theories (see, e.g., RFP Nos.

21, 22, and 28).

       Plaintiffs’ damages theories have recently shifted significantly. In response to

Defendant’s Discovery Requests, Plaintiffs indicated they were pursuing a lost profits damages



2
  Plaintiffs also identified an LCD panel with number NL1294A5ANA0125439391221, but
Tianma Microelectronics has no product with such an identifier.
3
  JDI was formed from the LCD subsidiaries of Hitachi, Sony, and Toshiba.


                                                 -2-
Case 2:20-cv-00283-JRG Document 64 Filed 06/03/21 Page 3 of 8 PageID #: 1581




theory, among others. Yet, Plaintiffs produced no documents supporting that theory as required

by the Additional Disclosures (Dkt. No. 33 at 3-4), and when pressed to produce such

documents, Plaintiffs have now conceded that they are not in fact pursuing a lost profits damages

theory. Plaintiffs have maintained their reasonable royalty theory though, so Defendant remains

entitled to discovery of technical, marketing, and financial information relating to Plaintiffs’

products that practice the asserted patents and those that do not, which are relevant to the issue of

a reasonable royalty as further described below.

       Indeed, Plaintiffs have so far produced just over 200 documents, including only four

documents from Panasonic. Plaintiffs have produced no documents on potential prior art

products and no documents on products that practice their own patents as relevant to their

damages theories. On May 14, 2021, Defendant sent a letter identifying deficiencies in Plaintiffs’

document production and requested prompt supplementation. See Ex. 1. After additional

requests, Plaintiffs have still failed to produce any documents in the above categories, and have

agreed, without identifying a date certain, to only produce technical documents on ten of those

prior art products specifically identified in the Invalidity Contentions (see Ex. 2).

       Plaintiffs’ continued failure and refusal to produce relevant documents in its possession

are prejudicial to Tianma Microelectronics, hindering its ability to develop its defenses and

counterclaims.

II.    ARGUMENT—JDI and Panasonic Have Failed to Produce Relevant Documents

       In their April 16, 2021, Objections and Responses, Plaintiffs repeated boilerplate

responses to every document production request stating that they would produce relevant

documents—but, by May 14, 2021, Plaintiffs had produced only 134 documents. Despite

repeated requests, Plaintiffs have either refused to produce, or failed to provide a date certain for

production of the below categories of documents—documents that are solely in Plaintiffs’


                                                 -3-
Case 2:20-cv-00283-JRG Document 64 Filed 06/03/21 Page 4 of 8 PageID #: 1582




possession. Plaintiffs should be compelled to produce such documents promptly as described

below.

         A.     Plaintiffs Failed to Provide Information and Documents Relating to
                Plaintiffs’ Own Prior Use Products

         On March 3, Tianma Microelectronics identified 152 exemplary prior art products sold

by Plaintiffs or their predecessors, including ten from JDI and one from Panasonic, 4 that are

believed to practice one or more of the fifteen asserted patents. As of June 3, Plaintiffs have

failed to provide any documents on these products or any others. They refuse to provide a date

certain for production on even the ten identified JDI products (see Ex. 2) and refuse outright to

produce technical documents on products similar to the identified products. Tianma

Microelectronics is entitled to discovery relating to all Plaintiffs’ prior art products, which

necessarily include those that are similar to the identified products. The requested information is

relevant and necessary for Tianma Microelectronics to develop its defenses and/or

counterclaims. No alternative means exist for Defendant to obtain such information because it is

in Plaintiffs’ sole possession, and accordingly Plaintiffs should be compelled to produce it.

         B.     Plaintiffs Failed and Refuse to Provide Information and Documents Relating
                to Plaintiffs’ Reasonable Royalty Contentions

         Tianma Microelectronics has sought information relevant to Plaintiffs’ claims for

damages, including lost profits and reasonable royalties, and “all factual, legal, and evidentiary

bases for such contention and a detailed description of how such damages have been calculated.”

See RFP No. 22, ROG No. 15. The requests further seek related financial and marketing

documents, including:



4
 LT070ME0500B, TFTMD070021, ACX454BLN-7, LPM084A082A, LT070ME05000,
TFTMD089030, LPM089A001A, LPM070W425B, LPM063Y425A, TX54D11VC0CAB, and
TR-LM7WR3PS.

                                                 -4-
Case 2:20-cv-00283-JRG Document 64 Filed 06/03/21 Page 5 of 8 PageID #: 1583




       21. All documents and things that concern your contention that Plaintiffs have
       been damaged by any alleged infringement by Tianma Microelectronics.

       22. All documents and things relating to any computation, calculation or
       estimation of damages, lost profits or reasonable royalties claimed or to be
       claimed by Plaintiffs in the above referenced cases.

       28. All marketing, advertising or promotional documents and things concerning
       any product that Plaintiffs allege or believe embodies any claim of any Asserted
       Patent.

RFP Nos. 21, 22, 28. Although Plaintiffs have since dropped their lost profits theory, this does

not absolve their responsibility to produce information on whether and how their own products

practice the 135 asserted claims, as such information is relevant to reasonable royalty

determination under the Georgia Pacific factors. It is black letter law that a reasonable royalty

award “must be based on the incremental value that the patented invention adds to the end

product.” Ericsson, Inc. v. D-Link Systems, Inc., 773 F.3d 1201, 1226 (Fed. Cir. 2014).

Moreover, “[t]he economic relationship between the patented [invention] and non-infringing

alternative[s] . . . would limit the hypothetical negotiation” because the difference in production

costs between the infringing and non-infringing products effectively cap the reasonable royalty

award. See, e.g., Riles v. Shell Exploration and Prod. Co., 298 F.3d 1303, 1311 (Fed. Cir. 2002).

Accordingly, Defendant is entitled to (1) technical documents to determine the differences

between Plaintiffs’ products incorporating the claimed features of the asserted patents and those

that do not; (2) marketing documents showing how Plaintiffs have marketed their products

incorporating the claimed features and those that do not; and (3) financial documents showing

“[t]he portion of the realizable profit that should be credited to the invention as distinguished

from non-patented elements” or the contribution of the alleged inventions based on the claimed

invention’s footprint in the market place. Georgia Pacific Corp. v. United States Plywood Corp.,

318 F. Supp. 1116, 1120 (S.D.N.Y. 1970) (listing factors relevant for reasonable royalty



                                                 -5-
Case 2:20-cv-00283-JRG Document 64 Filed 06/03/21 Page 6 of 8 PageID #: 1584




determination); see also Ericsson, 773 F.3d 1201 at 1226 (stressing that royalty determination

“must reflect the value attributable to the infringing features of the product, and no more”).

       Plaintiffs assert that they do not intend to rely on their own products for any purpose. But

they ignore that Defendant may rely on Plaintiffs’ products for the reasonable royalty analysis.

Plaintiffs are obligated to produce documents responsive to Requests Nos. 21, 22, and 28.

III.   CONCLUSION

       This Court’s Docket Control Order requires the parties “to make good faith efforts to

produce all required documents as soon as they are available.” Dkt. No. 34 at 4. Plaintiffs have

failed to comply with that requirement. Their failure to fulfill their discovery obligations despite

repeated requests has significantly hindered Tianma Microelectronics’s ability to prepare its

defense.

       Defendant therefore respectfully requests that the Court compel Plaintiffs to produce, by

June 18, 2021, (i) information and documents relating to Plaintiffs’ products made, offered for

sale, or sold before the application dates of the asserted patents; and (ii) information and

documents relating to Plaintiffs’ reasonable royalty contentions.



Dated: June 3, 2021                                    Respectfully submitted,

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                                                 -6-
Case 2:20-cv-00283-JRG Document 64 Filed 06/03/21 Page 7 of 8 PageID #: 1585




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                                    -7-
Case 2:20-cv-00283-JRG Document 64 Filed 06/03/21 Page 8 of 8 PageID #: 1586




                                 CERTIFICATE OF SERVICE

       The undersigned certifies that on June 3, 2021, a true and correct copy of the above

document was served on all counsel of record via the Court’s ECF system.


                                                       /s/ Catherine Sadler
                                                       Catherine Sadler

                              CERTIFICATE OF CONFERENCE

       This is to certify that counsel have complied with the meet and confer requirement in

Local Rule CV-7(h) and that this motion is opposed. Pursuant to Section 9 of the Discovery

Order (Dkt. No. 33) the Court has entered, on May 14, 2021, Tianma Microelectronics sent

Plaintiffs a letter identifying Plaintiffs’ discovery deficiencies, including those outlined herein,

followed by several follow-up requests. The parties conferred by telephone on May 19, 2021,

and May 26, 2021, with the presence of lead, local, and other counsel for Plaintiffs (Eric Klein,

Hilary Preston, Erik Shallman) and for Tianma Microelectronics (James Barney, Erik Findlay,

Aidan Skoyles), in addition to several email correspondences on the subject. During the

meet-and-confer on May 26, Plaintiffs indicated they may have additional licenses to produce,

but did not intend to produce any additional documents beyond licenses. Plaintiffs sent a

response letter on May 28, 2021, but did not commit to address these deficiencies by any certain

date. The parties disagree as to the scope and timeline of Plaintiffs’ discovery obligations and the

sufficiency of Plaintiffs’ disclosures and production. Discussions have conclusively ended in an

impasse, leaving open issues for the Court to resolve.

                                                       /s/ Aidan C. Skoyles
                                                       Aidan C. Skoyles




                                                  8
